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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  NEW ALBANY DIVISION

 VICKI BUDD, as Personal Representative and             )
 Administrator of the Estate of JEROD SCOTT             )
 DRAPER, and next friend to the minor child,            )
 C.J.D.,                                                )
                                                        )
                               Plaintiff,               )
                                                        ) Case No.: 4:19-cv-00231-SEB-DML
         v.                                             )
                                                        )
 RODNEY V. SEELYE, Individually and in his              )
 official capacity as Harrison County Sheriff,          )
 NICHOLAS SMITH, Individually and in his                )
 official capacity as Harrison County Sheriff,          )
 ADVANCED CORRECTIONAL                                  )
 HEALTHCARE, INC.,                                      )
 CAPTIAN DUSTIN CUNDALL,                                )
 SERGEANT MATT HULSEY,                                  )
 LIEUTENANT BRENDEN SATORI,                             )
 MICHAEL GREGORY, and                                   )
 ROY WASHINGTON,                                        )
                                                        )
                                 Defendants.            )

                 MEDICAL DEFENDANTS’ STATEMENT OF DEFENSES
         Defendants, Advanced Correctional Healthcare, Inc. and Roy Washington (“Medical

 Defendants”), by counsel, for their Statement of Defenses filed pursuant to the Case Management

 Plan, state:

         Affirmative Defense #1: Decedent’s conduct may constitute comparative fault and/or

 contributory negligence, thus barring or reducing Plaintiff’s claim accordingly. The evidence

 shows that Mr. Draper did not disclose to jail staff upon his initial arrival to the jail any use of

 methamphetamines despite having a positive toxicology screen for methamphetamines later at the

 hospital or that he swallowed an entire baggie of methamphetamines. This conduct will constitute

 comparative fault and/or contributory negligence, barring or reducing Plaintiff’s state law claims.


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        Affirmative Defense #2: The medical care rendered to Decedent was within the applicable

 standard of care and did not result in any harm to Plaintiff. Medical Defendants will produce

 expert testimony that the care they rendered to Mr. Draper at the jail was within the standard of

 care and his subsequent death could not have been prevented. N.P. Washington’s medical care

 was reasonable, adequate, and within the applicable standard of care.

        Affirmative Defense #3: Plaintiff has failed to state a claim upon which relief can be

 granted as to Defendant Advanced Correctional Healthcare, Inc. (“ACH”) because there was no

 policy, procedure or custom of ACH that affected Mr. Draper’s medical care. Medical Defendants

 will produce evidence at trial showing no ACH policy, practice, or procedure was the moving force

 behind or led to any constitutional violation of Mr. Draper.

        Affirmative Defense #4:      No acts or omissions of any Medical Defendant was the

 proximate cause of Decedent’s injuries. Medical Defendants will provide evidence that the

 hospital cleared Mr. Draper for entrance into the jail after his arrest. Medical Defendants care of

 Mr. Draper was not objectively unreasonable and by the time it was discovered that Mr. Draper

 should go to the hospital, nothing could have been done to prevent his death.

        Affirmative Defense #5: Plaintiff’s damages are limited under the Indiana Wrongful Death

 Act. Discovery is on-going but Medical Defendants continue to investigate whether Mr. Draper

 meets the requirements under the Indiana Wrongful Death Act and whether Plaintiff or Mr.

 Draper’s child had a genuine, substantial, and ongoing relationship with Mr. Draper at the time of

 his death or was his legal dependent.




                                              Respectfully Submitted,

                                              s/ Carol A. Dillon
                                              Carol A. Dillon, #25549-49

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                                             One of the Attorneys for Defendants Advanced
                                             Correctional Healthcare, Inc. and Roy Washington,
                                             N.P.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 12th day of February, 2021, a true and complete copy of the

 foregoing document was served electronically upon all counsel of record via email generated by

 the Court’s ECF system to the following:



        All electronically ECF Registered Parties




                                                            s/ Carol A. Dillon
                                                            Carol A. Dillon, #25549-49




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